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                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION

KATHLEEN L. LIEBAU,

      Plaintiff,                          Case No: 21-cv-11823

v.                                        Judge Shalina D. Kumar

DYKEMA GOSSETT, PLLC, a                   Magistrate Judge David R. Grand
Michigan professional limited liability
company,

      Defendant.
                                                                              /

Raymond J. Sterling (P34456)              Elizabeth Hardy (P37426)
Brian J. Farrar (P79404)                  David Porter (P76785)
Attorneys for Plaintiff                   Attorneys for Defendant
Sterling Attorneys at Law, P.C.           Kienbaum Hardy Viviano Pelton
33 Bloomfield Hills Pkwy.                  & Forrest, P.L.C.
Suite 250                                 280 N. Old Woodward Ave., Ste 400
Bloomfield Hills, MI 48304                Birmingham, MI 48009
(248) 644-1500                            (248) 645-0000
rsterling@sterlingattorneys.com           ehardy@khvpf.com
bfarrar@sterlingattorneys.com             dporter@khvpf.com
                                                                              /




               STIPULATED PROTECTIVE ORDER
     CONCERNING CONFIDENTIAL DOCUMENTS OR INFORMATION
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      Upon a showing of good cause in support of the entry of a protective order in

accordance with Fed. R. Civ. P. 26(c) to control the discovery and dissemination of

alleged CONFIDENTIAL or alleged proprietary information, it is hereby ordered as

follows:

      1.       This    Order     shall   apply      to   information    designated    as

“CONFIDENTIAL” and shall             include     confidential   or proprietary   business

information or information implicating common law or statutory privacy interests.

For purposes of this Order, the following categories of documents and information

generally will be considered confidential and subject to this Protective Order:

           •   confidential personnel information about partners and/or
               employees other than the Plaintiff, including but not limited to
               documents regarding job performance, compensation, personal
               data, medical information, and disciplinary action;

           •   confidential or proprietary business information, including but
               not limited to documents concerning compensation, business
               strategies or planning, workforce planning, clients, and other
               sensitive or competitive data; and

           •   medical or financial records of the Plaintiff.

      2.       CONFIDENTIAL information shall not be disclosed or used for any

purpose except for the preparation for trial, trial, or other proceedings in the above-

captioned case, and will not be used in any other litigation or disclosed to any print

or broadcast media. This Protective Order is not intended to preclude any party

from using its own confidential information for any purpose for which such

information is normally used outside the confines of this litigation.




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      3.     CONFIDENTIAL          documents,      materials,      and/or   information

(collectively “CONFIDENTIAL information”) shall not, without the consent of the

party producing it or further order of the Court, be disclosed, except that such

information may be disclosed to:

             (a)    attorneys actively working on this case;

             (b)    persons regularly employed or associated with the
                    attorneys actively working on this case whose assistance
                    is required by said attorneys in the preparation for trial,
                    at trial, or at other proceedings in this case;

             (c)    Plaintiff;

             (d)    expert witnesses and consultants retained in connection
                    with this proceeding, to the extent such disclosure is
                    necessary for preparation for trial, trial or other
                    proceedings in this case;

             (e)    the Court and its employees;

             (f)    mediators, facilitators and case evaluators;

             (g)    stenographic reporters who are engaged in proceedings
                    necessarily incident to the conduct of this action;

             (h)    third-party deponents or third-party witnesses; and

             (i)    other persons by written agreement of the parties.

      4.     All persons to whom Confidential Discovery Material is disclosed in

accordance with the terms of this Order shall be advised by counsel of the terms of

this Order and informed that they are subject to the terms and conditions of this

Order prior to disclosure.

      5.     Documents shall be designated as CONFIDENTIAL by placing or

affixing on them (in a manner that will not interfere with their legibility) either of



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the following notices: “CONFIDENTIAL: THIS MATERIAL IS SUBJECT TO A

PROTECTIVE ORDER” or “CONFIDENTIAL.” The confidentiality of all Dykema

Gossett clients shall be preserved by redacting all client names contained in

CONFIDENTIAL documents and using pseudonym placeholders. The identity of

each redacted client and the corresponding pseudonym shall be recorded in a

document exchanged between the parties. That document shall be CONFIDENTIAL

and shall not be filed with the Court except under seal. Documents may only be

filed under seal by Court order after a motion pursuant to Local Rule 5.3.

      6.       Whenever a deposition involves the disclosure of CONFIDENTIAL

information,    the   deposition   or   portions   thereof   shall   be   designated   as

CONFIDENTIAL and shall be subject to the provisions of this Protective Order.

Such designation shall be made on the record during the deposition whenever

possible, but a party may designate portions of depositions as CONFIDENTIAL

after transcription, provided written notice of the designation is promptly given to

all counsel of record within thirty (30) days after notice by the court reporter of the

completion of the transcript.

      7.       A party may object to the designation of Confidential Information by

giving written notice to the party designating the disputed information as

Confidential Information. The written notice shall specifically identify the

information to which the objection is made. If the parties cannot resolve the

objection, the party claiming the “Confidential” status of the Discovery Material

shall bring the dispute before the Court within 7 days. In the event that such a




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motion is made, any disputed Confidential Discovery Material shall remain subject

to and protected by this Order until such motion is resolved. If such a motion is

timely filed, the disputed information shall be treated as Confidential Information

under the terms of this Protective Order until the Court rules on the motion. In

connection with a motion filed under this provision, the party designating the

information as Confidential Information shall bear the burden of establishing that

good cause exists for the designated information to be treated as Confidential

Information.

      8.       Confidential Information may be filed with the Court to the extent

reasonably necessary to support motions or other matters related to the litigation if

counsel for the filing party redacts either redacts all Confidential Information or

files under seal. Documents may only be filed under seal by Court order after a

motion pursuant to Local Rule 5.3.

      9.       In the event that either party receives a third-party subpoena or other

form of legal process requesting Confidential Information in this case, the party

receiving such request will provide the opposing party written notice that such a

request was received as soon as possible (but no later than five days from receipt)

and provide a copy of the request with the written notice.

      10.      At the conclusion of this case, unless other arrangements are mutually

agreed upon by all counsel, each document and all copies thereof which have been

designated as CONFIDENTIAL shall either be returned to the party designating

them as CONFIDENTIAL within thirty (30) days of a written request or certify to




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that the documents have been destroyed. However, the signatories to this Order

and their counsel may retain copies of attorney work-product and briefs, pleadings,

and other papers filed with or sent to the Court that incorporate, append, or refer to

Confidential Discovery Material, with such papers remaining subject to the terms

and conditions of this Order.

      11.      A party or counsel may not unilaterally modify any document so as to

remove it from the protections of this Protective Order. Any document subject to

this Protective Order when produced will remain protected unless the parties agree

in writing to remove the designation, or as otherwise ordered by the Court.

      12.      This Protective Order may be amended by written stipulation of the

parties, or by the Court for good cause shown upon notice to all counsel and an

opportunity to be heard.

      13.      This Protective Order is without prejudice to the right of either party

to contest the admissibility, discoverability or privileged status of any document or

information.

      14.      Within thirty (30) days after entry of this Order and subject to the

procedures set forth in this Order, either party may designate as CONFIDENTIAL

any documents or information produced prior to entry of this Protective Order,

including materials produced at any time after the commencement of this case.

      IT IS SO ORDERED.

                                        s/Shalina D. Kumar
                                        Honorable Shalina D. Kumar
                                        U.S. DISTRICT JUDGE
Dated: March 10, 2022.



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Approved as to form:

 Sterling Attorneys at Law, P.C.   Kienbaum Hardy Viviano Pelton
                                   & Forrest, P.L.C.

 /s/ Brian J. Farrar (w/consent)   /s/ David Porter
 Raymond J. Sterling (P34456)      Elizabeth Hardy (P37426)
 Brian J. Farrar (P79404)          David Porter (P76785)
 Attorneys for Plaintiff           Attorneys for Defendant
 33 Bloomfield Hills Pkwy.         280 N. Old Woodward Ave.
 Suite 250                         Suite 400
 Bloomfield Hills, MI 48304        Birmingham, MI 48009
 (248) 644-1500                    (248) 645-0000
 rsterling@sterlingattorneys.com   ehardy@khvpf.com
 bfarrar@sterlingattorneys.com     dporter@khvpf.com



Dated: March 10, 2022
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